Case 2:22-cr-20504-JJCG-DRG ECF No. 358, PageID.8584 Filed 06/04/25 Page 1 of 2




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

             Plaintiff,                   CASE NO. 22-20504
                                          HON. JONATHAN J.C. GREY
 v.

 AWS MOHAMMED NASER,

             Defendant.
                                     /

              ORDER TO REDACT JUROR NAMES FROM
               TRIAL TRANSCRIPT FOR JUNE 3, 2025

         On June 3, 2025, while polling the jurors regarding the jury

 verdict, the Court announced the names of the twelve jurors. In the

 interests of justice, including the privacy of the jurors, whose names are

 not material to the issues before the Court,

         IT IS ORDERED that the twelve jurors’ names shall be, and

 hereby are, REDACTED from any trial transcript prepared for June 3,

 2025.

 Dated: June 4, 2025                s/Jonathan J.C. Grey
                                    JONATHAN J.C. GREY
                                    UNITED STATES DISTRICT COURT
Case 2:22-cr-20504-JJCG-DRG ECF No. 358, PageID.8585 Filed 06/04/25 Page 2 of 2




                          Certificate of Service

 The undersigned certifies that the foregoing document was served upon
 counsel of record and any unrepresented parties via the Court’s ECF
 System to their respective email or First-Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on June 4, 2025.

                                s/ S. Osorio
                               Sandra Osorio
                               Case Manager




                                       2
